Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 1 of 67 Page ID #:1
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 2 of 67 Page ID #:2
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 3 of 67 Page ID #:3
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 4 of 67 Page ID #:4
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 5 of 67 Page ID #:5
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 6 of 67 Page ID #:6
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 7 of 67 Page ID #:7
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 8 of 67 Page ID #:8
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 9 of 67 Page ID #:9
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 10 of 67 Page ID #:10
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 11 of 67 Page ID #:11
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 12 of 67 Page ID #:12
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 13 of 67 Page ID #:13
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 14 of 67 Page ID #:14
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 15 of 67 Page ID #:15
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 16 of 67 Page ID #:16
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 17 of 67 Page ID #:17
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 18 of 67 Page ID #:18
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 19 of 67 Page ID #:19
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 20 of 67 Page ID #:20
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 21 of 67 Page ID #:21
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 22 of 67 Page ID #:22
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 23 of 67 Page ID #:23
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 24 of 67 Page ID #:24
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 25 of 67 Page ID #:25
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 26 of 67 Page ID #:26
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 27 of 67 Page ID #:27
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 28 of 67 Page ID #:28
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 29 of 67 Page ID #:29
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 30 of 67 Page ID #:30
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 31 of 67 Page ID #:31
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 32 of 67 Page ID #:32
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 33 of 67 Page ID #:33
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 34 of 67 Page ID #:34
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 35 of 67 Page ID #:35
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 36 of 67 Page ID #:36
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 37 of 67 Page ID #:37
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 38 of 67 Page ID #:38
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 39 of 67 Page ID #:39
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 40 of 67 Page ID #:40
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 41 of 67 Page ID #:41
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 42 of 67 Page ID #:42
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 43 of 67 Page ID #:43
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 44 of 67 Page ID #:44
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 45 of 67 Page ID #:45
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 46 of 67 Page ID #:46
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 47 of 67 Page ID #:47
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 48 of 67 Page ID #:48
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 49 of 67 Page ID #:49
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 50 of 67 Page ID #:50
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 51 of 67 Page ID #:51
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 52 of 67 Page ID #:52
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 53 of 67 Page ID #:53
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 54 of 67 Page ID #:54
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 55 of 67 Page ID #:55
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 56 of 67 Page ID #:56
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 57 of 67 Page ID #:57
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 58 of 67 Page ID #:58
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 59 of 67 Page ID #:59
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 60 of 67 Page ID #:60
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 61 of 67 Page ID #:61
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 62 of 67 Page ID #:62
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 63 of 67 Page ID #:63
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 64 of 67 Page ID #:64
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 65 of 67 Page ID #:65
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 66 of 67 Page ID #:66
Case 5:22-cv-01737-SP Document 1 Filed 10/04/22 Page 67 of 67 Page ID #:67
